Case No. 1:23-cv-01474-KLM Document 1 filed 06/09/23 USDC Colorado pgi1of15

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

FILED

Civil Action No. UNITED STATES DISTRICT COURT
: NVER,
(To be supplied by che court) DENVER, COLORADO

JUN 062023

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City and _( ut of Denver.

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(List each named defendant on a separate line. If you cannot Jit the names of all defendants in
the space provided, please write “see attached”’ in the space above and attach an additional
sheet of paper with the full list of names. The names listed in the above caption must be
identical to those contained in Section B. Do not include addresses here.)

 

VERIFtLED :
PRISONER COMPLAINT

 

 

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the: privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security numb2r or full birth date; the full name of a person
known to be a minor; or a complete financial accnunt number. A filing may include only: the
last four digits of a social. security number; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.

Plaintiff need not send exhibits, affidavits, grizvances, witness statements, or any other
materials to the Clerk’s Office with this complaint.

 

 

 
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A. PLAINTIFF INFORMATION , /

You must notify the court of any changes to your address where case-related Papers may be
served by filing a notice of change of address. Failure to keep a current address on file with the
court may result in dismissal of your case.

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(Name, prigoner identification number, and con plete mailing address)

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(Other namég by which you have been known)
Indicate whether you are a prisoner or other confined person as follows: (check one)

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Civilly committed detainee
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x Other: (Please explain) ln (eae tedu ct laSMma_Ma pArenbal pig hts

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B. DEFENDANT(S) INFORMATION

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more Space is needed, use extra paper to provid: the information requested. The additional
pages regarding defendants should be labeled “B. DEFENDANT, (S) INFORMATION.” °

Defendant 1: City And County att Denver.

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D. STATEMENT OF CLAIM(S)

State clearly and concisely every claim that you are asserting in this action. For each claim,
specify the right that allegedly has been violated and state all facts that support your claim,
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person was involved in each
claim. You do not need to cite specific legal cases to support your claim(s). If additional space
is needed to describe any claim or to assert additional claims, use extra paper to continue that
claim or to assert the additional claim(s). Please indicate that additional paper is attached and
label the additional pages regarding the statement of claims as “D. STATEMENT OF CLAIMS.”

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D. Statement e& Claims

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D. Statement of Claims

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D. STATEMENT OF CLAIMS

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